                           Case 20-10602        Doc 16      Filed 02/23/21      Page 1 of 3
                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   CHERYL IRENE JONES                                              CASE NO. 20-10602
   404 LEAWOOD DR                                                  JUDGE BENJAMIN A. KAHN
   GREENSBORO, NC 27410

               DEBTOR

   SSN(1) XXX-XX-9794                                              DATE: 02/23/2021


                                             REPORT OF FILED CLAIMS

     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT      CLASSIFICATION
ALLIANCE UROLOGY SPECIALISTS                                       $0.00    (U) UNSECURED
509 N ELAM AVE FL 2                                           INT: .00%     NOT FILED
GREENSBORO, NC 27403                                     NAME ID: 70613     ACCT: 2150
                                                          CLAIM #: 0005     COMMENT:
AMERICAN EXPRESS NATIONAL BANK                               $15,884.25     (U) UNSECURED
% BECKET & LEE LLP                                           INT: .00%
P O BOX 3001                                           NAME ID: 170495      ACCT: 2001
MALVERN, PA 19355                                        CLAIM #: 0006      COMMENT:
CHERRI LEE BROWN                                                  $0.00     (U) UNSECURED
6743 HIGH ROCK RD                                            INT: .00%      NOT FILED
BROWNS SUMMIT, NC 27214                                NAME ID: 182746      ACCT:
                                                         CLAIM #: 0007      COMMENT: DISP
CITIBANK NA                                                   $9,221.51     (U) UNSECURED
6716 GRADE LN BLG 9 STE 910                                  INT: .00%
PY DEPT                                                NAME ID: 174688      ACCT: 1083
LOUISVILLE, KY 40213                                     CLAIM #: 0008      COMMENT:
CONE HEALTH                                                       $0.00     (U) UNSECURED
P O BOX 650292                                               INT: .00%      NOT FILED
DALLAS, TX 75265                                       NAME ID: 152491      ACCT:
                                                         CLAIM #: 0009      COMMENT:
GREENSBORO RADIOLOGY PA                                           $0.00     (U) UNSECURED
P O BOX 63012                                                INT: .00%      NOT FILED
CHARLOTTE, NC 28263                                    NAME ID: 168994      ACCT: 6524
                                                         CLAIM #: 0010      COMMENT:
GUILFORD CO REGISTER OF DEEDS                                    $52.00     (Z) SPECIAL COST ITEM
P O BOX 3427                                                  INT: .00%
GREENSBORO, NC 27402                                      NAME ID: 1159     ACCT:
                                                          CLAIM #: 0016     COMMENT:
GUILFORD COUNTY EMS                                                $0.00    (U) UNSECURED
P O BOX 863                                                   INT: .00%     NOT FILED
LEWISVILLE, NC 27023                                     NAME ID: 15831     ACCT: 6446
                                                          CLAIM #: 0011     COMMENT:
                       Case 20-10602   Doc 16    Filed 02/23/21      Page 2 of 3
                              PAGE 2 - CHAPTER 13 CASE NO. 20-10602

NAME & ADDRESS OF CREDITOR                           AMOUNT       CLASSIFICATION
GUILFORD COUNTY TAX DEPT                               $0.00      (P) PRIORITY
P O BOX 3427                                      INT: .00%       NOT FILED
GREENSBORO, NC 27402                        NAME ID: 159810       ACCT:
                                              CLAIM #: 0001       COMMENT: OC
INTERNAL REVENUE SERVICE                               $0.00      (P) PRIORITY
P O BOX 7317                                      INT: .00%       AMENDED
PHILADELPHIA, PA 19101-7317                 NAME ID: 123769       ACCT: 19TX
                                              CLAIM #: 0002       COMMENT: OC,1220A,720A
N C DEPARTMENT OF REVENUE                                $0.00    (P) PRIORITY
BANKRUPTCY UNIT                                     INT: .00%     NOT FILED
P O BOX 1168                                    NAME ID: 9699     ACCT: 9794
RALEIGH, NC 27602-1168                          CLAIM #: 0003     COMMENT: OC
PHOENIX FINANCIAL SERVICES                             $0.00      (U) UNSECURED
8902 OTIS AVE STE 103A                            INT: .00%       NOT FILED
INDIANAPOLIS, IN 46216                      NAME ID: 157919       ACCT:
                                              CLAIM #: 0012       COMMENT:
TRULIANT FEDERAL CREDIT UNION                      $8,965.62      (U) UNSECURED
P O BOX 25132                                     INT: .00%
WINSTON SALEM, NC 27114                      NAME ID: 66723       ACCT: 9711
                                              CLAIM #: 0013       COMMENT:
TRULIANT FEDERAL CREDIT UNION                      $5,014.10      (U) UNSECURED
P O BOX 25132                                     INT: .00%
WINSTON SALEM, NC 27114                      NAME ID: 66723       ACCT: 1635
                                              CLAIM #: 0014       COMMENT:
US DEPT OF HOUSING & URBAN DEV                         $0.00      (S) SECURED
2401 NW 23RD ST STE 1A1                           INT: .00%       DIRECT PAY
OKLAHOMA CITY, OK 73107                     NAME ID: 167852       ACCT: 4212
                                              CLAIM #: 0004       COMMENT: DT,RE RP,DIR
WAKE FOREST BAPTIST HEALTH                             $0.00      (U) UNSECURED
P O BOX 603640                                    INT: .00%       NOT FILED
CHARLOTTE, NC 28260-3640                    NAME ID: 180520       ACCT: 4691
                                              CLAIM #: 0015       COMMENT:

TOTAL:                                               $39,137.48
B PETER JARVIS ESQ                                   $2,500.00    ATTORNEY FEE
TENNANT LAW OFFICES PC
10821 N MAIN ST
P O BOX 4585
ARCHDALE, NC 27263



                                                                  ANITA JO KINLAW TROXLER,
                                                                  TRUSTEE
                                                                  500 W FRIENDLY AVE STE 200
                                                                  P O BOX 1720
                                                                  GREENSBORO, NC 27402-1720
                           Case 20-10602       Doc 16     Filed 02/23/21      Page 3 of 3
                                    PAGE 3 - CHAPTER 13 CASE NO. 20-10602



                                NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in
the Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must
be served on the Trustee:

                                      Clerk, U.S. Bankruptcy Court
                                      101 S. Edgeworth Street
                                      P.O. Box 26100
                                      Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court.       The Trustee will continue making
disbursements on the claims unless an objection is filed.




Date: 02/23/2021                                                      OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                 By: /s/ Gayle McFarland
                                                                     Clerk
                                                                     Chapter 13 Office
                                                                     500 W FRIENDLY AVE STE 200
                                                                     P O BOX 1720
                                                                     GREENSBORO, NC 27402-1720

cc: Debtor
    Attorney for Debtor - Electronic Notice
